                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE
                                  KNOXVILLE DIVISION

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   LEWIS COSBY, KENNETH R. MARTIN, as                              : No. 3:16-cv-00121-TAV-DCP
   beneficiary of the Kenneth Ray Martin Roth IRA,                 :
   and MARTIN WEAKLEY on behalf of themselves :
   and all others similarly situated,                              :
                                                                   :
                                       Plaintiffs,                 :
                                                                   :
                              v.                                   :
                                                                   :
   KPMG LLP,                                                       :
                                                                   :
                                       Defendant.                  :
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                                      JOINT STATUS REPORT
           Pursuant to paragraph 3 the Modified Scheduling Order (ECF No. 96) and Order (ECF No.

   212), Court-appointed Lead Plaintiffs and Class Representatives, Lewis Cosby, Eric Montague

   and Martin Ziesman, as Co-Trustee for the Carolyn K. Ziesman Revocable Trust, and Defendant

   KPMG LLP (“KPMG”, together with the Lead Plaintiffs, the “Parties”), jointly submit this status

   report to the Court and request that the Court enter the [Proposed] Third Scheduling Order filed

   herewith.

                                        DISCOVERY STATUS
           On February 15, 2019, the Court entered a Modified Scheduling Order. The Modified

   Scheduling Order set forth the following relevant discovery deadlines:

      1.   Completion of Document Production: April 5, 2019;
      2.   Completion of Fact Discovery: June 28, 2019;
      3.   Plaintiffs’ Expert Reports: July 1, 2019;
      4.   Defendant’s Rebuttal Expert Reports: August 2, 2019;
      5.   Plaintiffs’ Reply Expert Reports: August 22, 2019; and
      6.   Completion of Expert Discovery: September 9, 2019.




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           On March 19, 2019, the Court entered a stay of all non-Class related discovery in the case

   pending resolution of Plaintiffs’ Motion to Certify the Classes, Appoint Class Representatives, and

   Appoint Class Counsel (the “Stay Order”). ECF No. 109. After certifying the Class, the Court

   entered an Order on May 7, 2021, which lifted the stay (the “Stay Lift Order”). ECF No. 212. In

   that Stay Lift Order, the Court set a trial date of February 8, 2022, and stated that “[a]ny unexpired

   scheduling deadlines as of the date of entry of this order shall be applied as calculated from the

   new trial date and according to the same time limitations set forth in the Court’s Modified

   Scheduling Order [Doc. 96].” Id. Pursuant to the Court’s instruction, the “unexpired” discovery

   deadlines would be set as the following:

      1.   Completion of Document Production: May 1, 2021;
      2.   Completion of Fact Discovery: July 24, 2021;
      3.   Plaintiffs’ Expert Reports: July 27, 2021;
      4.   Defendant’s Rebuttal Expert Reports: August 28, 2021;
      5.   Plaintiffs’ Reply Expert Reports: September 17, 2021; and
      6.   Completion of Expert Discovery: October 5, 2021.
           These re-calculated deadlines are not viable. For example, the re-calculated deadline for

   the completion of document production (May 1) had already passed by the date of the Stay Lift

   Order (May 7, 2021), but document production was not complete when the Court entered the Stay

   Order and therefore remained incomplete when the stay was lifted on May 7, 2021. At that time,

   KPMG had produced documents that it had previously produced to the SEC or that were related

   to the SEC investigation, primarily consisting of its 2011 workpapers, electronic discovery and

   transcripts of SEC testimony. However, as of the date the Stay Order was entered, KPMG had not

   yet produced any workpapers for 2012-2014 and the Parties had not yet finalized an agreement on




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   search terms and custodians for the collection, review, and production of electronic documents.1

   The parties have made substantial progress in negotiating these terms and hope to reach final

   agreement shortly. Depositions have not started – and cannot start – until the parties finalize their

   agreement on the scope of electronic discovery, and KPMG completes its document production.

   The parties (and their experts) will then require need time to review the party and relevant third-

   party document productions prior to beginning depositions.

           Immediately following the Stay Lift Order, KPMG filed a Rule 23(f) Petition to the Sixth

   Circuit and moved to stay this action pending resolution of its Rule 23(f) Petition in both the Sixth

   Circuit and in this Court. This Court denied KPMG’s motion to stay on June 29, 2021. The Sixth

   Circuit has not yet ruled on KPMG’s motion to stay or on its Rule 23(f) Petition. Simultaneously,

   the parties met and conferred numerous times regarding document production, and KPMG has

   made multiple productions to Plaintiffs. On July 2 and July 7, 2021, KPMG produced its 2012-

   2014 workpapers and certain other categories of documents, totaling approximately 30,000 pages

   of documents. KPMG is currently in the process of reviewing voluminous documents collected

   based on the parties’ near-final agreement on search terms and custodians, and KPMG anticipates

   producing the remaining responsive, non-privileged documents agreed upon by September 10,

   2021.

           In light of the foregoing, the Parties jointly propose that the following deadlines be entered,

   as set forth in the attached [Proposed] Third Scheduling Order. The [Proposed] Third Scheduling

   Order maintains approximately the same period of time between deadlines as set forth in the




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     Relatedly, given the Stay Order, Plaintiffs were unable to complete negotiations with multiple
   third parties regarding their productions in response to Plaintiffs’ subpoenas. Those third party
   documents are necessary for at least one of Plaintiffs’ expert reports.


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   Modified Scheduling Order (with modifications to avoid the Thanksgiving and Christmas

   holidays):

      1.   Completion of Document Production: September 10, 2021;
      2.   Completion of Fact Discovery: December 8, 2021;
      3.   Plaintiffs’ Expert Reports: December 23, 2021;
      4.   Defendant’s Rebuttal Expert Reports: January 24, 2022;
      5.   Plaintiffs’ Reply Expert Reports: February 14, 2022; and
      6.   Completion of Expert Discovery: March 4, 2022.


                            DISPOSITIVE AND PRETRIAL MOTIONS

           At this time, there are no dispositive motions pending. The Parties do, however, anticipate

   filing motions for summary judgment. The Parties also anticipate filing pretrial motions, including

   motions in limine. At this time, without completion of fact discovery, the Parties cannot yet

   anticipate the subject matter of those motions.

                                  TYPE AND LENGTH OF TRIAL

           The case will be tried to a jury, and the Parties anticipate that the trial will take

   approximately two weeks.

                      PROSPECTS FOR SETTLEMENT AND MEDIATION

           On July 15, 2021, the Parties held a private mediation session with Mr. Robert Myers of

   JAMS.     Mr. Meyers has a background in audit related litigation.         While the Parties were

   unsuccessful in resolving the case at that time, the Parties believe that a resolution of this matter

   may still be possible. No new mediation dates have been scheduled.




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   Dated: August 3, 2021                 Respectfully submitted,

                                         /s/ Gregory G. Ballard
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